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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiffs,        )
      v.                                   )   No. 6:21-cv-00016
                                          )
UNITED STATES OF AMERICA, et al.          )
                                          )
                        Defendants.       )
__________________________________________)

                                     DEFENDANTS’ ADVISORY
       The Department of Homeland Security recently released the ICE Annual Report for Fiscal

Year 2021, covering the period of October 1, 2020, through September 30, 2021. It is available at

https://www.ice.gov/doclib/eoy/iceAnnualReportFY2021.pdf. Although this report covers the

period before the Secretary of Homeland Security’s challenged Guidelines for the Enforcement of

Civil Immigration Law (Sept. 30, 2021) (ECF No. 122-1) went into effect, Defendants bring the

report to the Court’s attention in light of the Court’s inquiry of when this report would be released,

see 2/24 PM Trial Tr. at 2-133:8-18.


Dated: March 11, 2022                          Respectfully submitted,

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                               CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on March 11, 2022.


                                                   /s/ Adam D. Kirschner
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